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U N ITED STA TES OF AM ERICA ,                )
                                              )      Crim inalA ction N o.5:07CR00063-019
V.                                            )
                                              )       M EM O R AND UM O PIN IO N
ISR AEL A M LLAN O-A RELLA N O ,              )
                                              )       By:Hon.Glen E.Com'ad
       D efendant.                            )       ChiefU nited States DistrictJudge

       Thiscase ispresently before the courton the issue ofw hetherthe defendantshould receive a

reductioninsentence,pursuantto 18U.S.C.j3582(c)(2)andAmendment750totheUnitedStates
Sentencing Guidelines. Forthe follow ing reasons,the courtw illdeny the defendant'sm otion to

reducehisterm of im prisonm ent.

       O n June 23,2008,the defendant,lsraelArellano-Arellano,pled guilty to conspiring to

distribute and possessw ith the intentto distribute m ore than tive gram s ofcocaine hydrochloride,in

violationof21U.S.C.jj841(a)(1)and(b)(1)(A)and 846.Thedefendantwassentencedon
October2,2008. Underthe advisory sentencing guidelines,the defendanthad a totaloffense level

of27 and a crim inalhistory category of1,resulting in a guideline range ofim prisonm entof 70

m onthsto 87 m onths.l The courtim posed an 87-m onth term ofim prisonm ent.

       Pursuantto its statutory authority,the U nited States Sentencing Com m ission has

prom ulgated a perm anentam endm entto the sentencing guidelines applicable to crim inalcases

involving cocaine base orcrack cocaine,w hich im plem entsthe provisionsofthe FairSentencing

Ad of2010 (Amendment750).On June30,2011,theSentencingCommissionfurtherdecided
that,effectiveN ovem ber 1,2011,the am ended guideline provisionsw illapply retroactively to



         1The crim eto which the defendantpled guilty nonnally carriesam andatory m inimum sentence
 ofl20months.2lU.S.C.j 841(b)(1)(A).However,becausethedefendantreceivedthebenefitofthe
 safety valveprovision,18U.S.C.j3553(9,theothelwiseapplicablemandatoryminimum sentencedid
 notapply in calculating hissentencing guideline range.
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offenderswho weresentenced underpriorversionsofthesentencing guidelines,and who arestill

incarcerated. Stated generally,the practicaleffectofthe Sentencing Com m ission'sactions is that

certain federaldefendants convicted ofoffensesinvolving crack cocaine m ay be eligible fora

reductionintheircurrentsentences,pursuantto18U.S.C.j3582(c)(2).
       Thedefendantfiled apro sem otion to reducehissentence onNovember 17,2011.Having

considered thedefendant'smotion,thecourtisconstrained to concludethatthe motion mustbe

denied.

       tcsection3582(c)(2)authorizesadistrictcourttomodifyadefendant'sterm ofimprisonment
when thedefendanttissentenced to aterm ofimprisonmentbased on a sentencing rangethathas

subsequently been lowered bythe Sentencing Com mission.'''United Statesv.Hood,556F.3d 226,

231(4thCir.2009)(quoting 18U.S.C.j3582(c)(2))(emphasisinoriginal).Thus,tobethebasisof
areductionunderj3582(c)(2),annmendmenttothesentencingguidelinesçlmusthavettheeffectof
loweringthedefendant'sapplicableguidelinerange.'''1d.(quotingU.S.S.G.j1B1.10(a)(2)(B))
(emphasisinoriginal).
       ln the instantcase,the defendantw asconvicted ofan offense involving cocaine

hydrochloride,orpowdercocaine.TheFairSentencingActamendedtheprovisionsof21U.S.C.j
841 thataddress cocaine base,or crack cocaine- the am endm entleftunaltered the provisions ofthe

statutethataddresspowdercocaine.SeeDepien.
                                         ev.UnitedStates,131S.Ct.2225,2232(2011)
(explainingthatcocainebase,asthatterm isusedin 21U.S.C.841(b)(1),doesnotincludepowder
cocaine).Consequentlysbecausethenmendmenthasnoeffectontheoffenseforwhichthis
defendantw as convicted,the defendant'stotaloffense leveland the applicable guideline range

remainthesame.Accordingly,asentencereduction isnotauthorizedunderj3582(c)(2),sincethe
am endm entdoesnothave the effectoflow ering the defendant'sapplicable guideline range. See
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U.S.S.G.j1B1.10(a)(2)(B).Forthesereasons,thedefendant'smotionforreductionmustbe
denied.

      The Clerk is directed to send certified copiesofthism em orandum opinion and the

aceompanying ordertothedefendantand a1lcounselofrecord.
      ENTER:This I% ?z1
                      dayofDecember,2011.


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                                                      ChiefUnited StatesDistrictJudge
